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 8                                       UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    BRIONNA R. CHOYCE,                                Case No. 1:24-cv-00529-HBK
12                          Plaintiff,                  ORDER GRANTING MOTION TO
                                                        PROCEED IN FORMA PAUPERIS AND
13             v.                                       DIRECTING CLERK TO ISSUE
                                                        SCHEDULING ORDER
14    MARTIN O’MALLEY,
      COMMISSIONER OF SOCIAL                            (Doc. No. 2)
15    SECURITY,
16                          Defendant.
17
              Pending before the Court is Plaintiff’s motion to proceed in forma pauperis under 28
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     U.S.C. § 1915 in this Social Security appeal. (Doc. No. 2). Plaintiff’s declarations in the motion
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     satisfies the requirements under § 1915.
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              Accordingly, it is ORDERED:
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              1. Plaintiff’s motion to proceed in forma pauperis (Doc. No. 2) is GRANTED.
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              2. The Clerk is directed to issue the Scheduling Order and summons. Service shall
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     proceed under the Court’s E-Service program set forth in the Scheduling Order.
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25   Dated:         June 7, 2024
                                                       HELENA M. BARCH-KUCHTA
26                                                     UNITED STATES MAGISTRATE JUDGE

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